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Vilma Capeo-Parenas
16-2130 Kuleana Street
Pahoa, HI 96778

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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

Vilma Capco-Parenas, an individual
Plaint'n?f,
v.

Countrywide Home Loans, a Business Entity,
form unknown; Bank of America, a Business
Entity, form unknown; Western State Mortgage
dba Aloha Mortgage Solutions, a Business
Entity, form unknown; MORTGAGE
ELECTRONIC REGISTRATION SYSTEMS, a
Business Entity, form unknown; and DOES 1-
100 inclusive,

Defendants,

 

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COMPLAINT FOR:

1. DECLARATORY RELIEF;
2. INJUNCTIVE RELEIF;

3. CoNTRACTUAL BREACH <)F GOOD
FAITH FAIR DEALING;

4. VIGLATIONS 0F TILA;

5. vIOLATIONS OF RESPA;

6. RECISSION;

7. UNFAIR AND DECEPTIVE ACTS AND
PRACTICES (UDAP);

8. BREACH OF FIDUCIARY DUTY;

9. UNCONSCICNABILITY;

10. PREDATQRY LENDING;

11. QUIET TITLE

12. LACK <)F STAND]NG (MERS);

EXHIBIT “A” prca us \ Q mm 7

Jury Trial Demanded

INTRODUCTION

COMES NOW the Plaintiff Vilma Capco-Parenas (hereinafter referred to as “Plaintiff” or

“Borrower”), allege as follows:

 

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PARTIES

l. At all times relevant herein, Plaintiff Was over the age of eighteen and is and Was a
resident of the County of Hawaii, State of HaWaii. The real estate that is the subject of this litigation
is 16-2130 Kuleana Street, Pahoa, HI 96778 (hereinafter referred to as “Subject Property”).

2. Plaintiff purportedly entered into a loan repayment and security agreement on or about,
May 22, 2007 With Defendant, Western State Mortgage dba Aloha Mortgage Solutions, Which
required Plaintiff to repay the loans in the amount of $184,800.00 and $46,200.00. The Plaintiff Was
approved for the loan in the amount of $184,800.00 on a Purchase ARM for 30 years with a 10 year
interest only period. The Plaintiff Was also approved for the loan in the amount of $46,200.00, a 15
year loan but amortized for 30 years.

3. Plaintiff is informed and therefore alleges that Defendant Countrywide Home Loans, a
Business Entity, form unknown, is a corporation, authorized to do business in the State of Hawaii
Was the original mortgage lender for the loan.

4. Plaintiff is informed and therefore alleges that Defendant, Western State Mortgage dba
Aloha Mortgage Solutions, a Business Entity, form unknown, is a corporation, authorized to do
business in the State of Hawaii. Aloha Mortgage Solutions Was the original broker. Aloha Mortgage
Solutions is a servicing company and has no lack of standing to foreclose on the property of the
Plaintiff.

5. Plaintiff is informed and therefore alleges that Defendant Countrywide Home Loans is a
foreclosing party Who has a lack of standing to foreclose on the plaintiff s property. 4

6. Plaintiff is informed and therefore alleges that Defendant, Countrywide Home Loans, a
Business Entity, form unknown, is a corporation, authorized to do business in the State of Hawaii,

Whose business address is 745 Fort Street Mall, Suite 1001, Honolulu, Hl 96813.

 

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7. Plaintiff is informed and therefore alleges that Defendant, Western State Mortgage dba
Aloha Mortgage Solutions (hereinafter referred to as “Aloha Mortgage Solutions”), a Business
Entity, form unknown, is a corporation, authorized to do business in the State of Hawaii, whose
business address is 1880 Ala Moana Boulevard, Suite 409, Honolulu, Hl 96815.

8. Plaintiff is informed and therefore believe that Defendant MORTGAGE
ELECTRONIC REGISTRATION SYSTEMS (hereinafter referred to as “MERS”), a Business
Entity, form unknown, is a corporation, authorized to do business in the State of Hawaii. l\/[ERS is
the original mortgage nominee/beneficiary on the loan, with a business address of, P.O. Box 2026,
Flint, Ml 48051.

9. The Defendants (each of them named in paragraphs l through 8 above, shall
collectively be referred to as “DEFENDANTS”) named herein "all persons unknown”, claiming any
legal or equitable right, title estate, lien or interest in the property described in this Complaint
adverse to Plaintiff’ s title thereto and as DOES l through 100 (hereinafter referred to as
"UNKNOWN DEFENDANTS") are unknown to Plaintiff. Bank of America and each of them claim
some right, title, estate, lien or interest in the Subj ect Property hereinafter described adverse to
Plaintifi’ s title and their claims and each of them constitute a cloud on Plaintifl‘s title to the Subj ect
Property. Plaintiff is informed and therefore believes and on that basis alleges that each fictitiously
named herein as a DOE is responsible for the events happening hereinafter alleged. Plaintiff Will
seek leave of the Court to amend this Complaint to allege the true names and capacities of said
fictitiously named Defendant’s when ascertained

10. Plaintiff is informed and therefore believe and on that basis allege that at all times
mentioned herein, the UNKNOWN DEFENDANTS are individuals and/or business entities whose
forms are unknown and were agents, principals, employees, employers and co-conspirators of each

and every other named or unnamed Defendant in this Complaint.

 

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11. Plaintiff is informed and therefore alleges that each of said Defendants is and at all
relevant times herein, was acting within the scope and consent of the remaining named and unnamed
Defendants.

12. Whenever in this Complaint an act or omission of a corporation or business entity is
alleged, the allegation Shall be deemed to mean and include an allegation that the corporation or
business entity acted or omitted to act through its authorized officers, directors, agents, servants,
and/or employees, acting within the course and scope of their duties, that the act or omission was
authorized by corporate managerial officers or directors, and that the act or omission was ratified by
the officers and directors of the corporation or business entity.

13. Defendants, and each of them, failed to provide the requisite Federal forms and
disclosures including but not limited to the Truth ln Lending Act, Real Estate Settlement Procedures
Act, Equal Opportunity Credit Act, Fair Lending/F air Debt Collection Act as well as others.

14. lt is also the responsibility of the lender and brokers to verify that the borrower has the
ability to repay the credit that has been extended. A departure from the fundamental principles of
loan underwriting Will form the basis of abusive lending. Lending without a determination that a
borrower can reasonably be expected to repay the loan from resources other than the collateral
securing the loan, and relying instead on the foreclosure value of the borrower's collateral to recover
principal, interest and fees. The underwriting on this loan was severely flawed. There was no
determination of the borrower to repay the loan, With complete disregard for the Guidance Letters
issued by Federal Agencies and even Federal and State Law.

15. As a result of their mortgage activities, Defendants and each of them are and were
subject to and must comply with the Federal Truth In Lending Act (hereinafter referred to as
“TILA”) [15 U.S.C. §1601-16666j]; [24 C.F.R § 3500.1-3500.17]; the Real Estate Settlement

Procedures Act (hereinafter referred to as “RESPA”) [12 U.S.C. § 2601 et.seq.]; 24 Code of F ederal

 

 

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Regulations § 3500.10; § 10241.3; Unfair and Deceptive Business Practices and Acts [UDAP
Statutes]; among others.
JURISDICTION

16. The transactions and events which are the subject matter of this Complaint all occurred
within the County of Hawaii, State of Hawaii.

17. The Subject Property is located within the County of Hawaii, State of Hawaii.

FACTUAL ALLEGATIONS

18. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though
fully set forth herein.

19. For years, mortgage brokers and lenders have been selling loan products that they knew
or should have known would never be able to be repaid by the borrower and would prevent
borrowers from ever actually owning the home. Instead, borrowers were offered interest-only,
negative amortization, and/or other subprime loan products that amounted to no more than a short
term lease until the payments became so unaffordable that the borrowers are now faced with either
bankruptcy or foreclosure The housing bubble of the past decade was created by predatory lending
practices, such as charging excessive fees, incorporating payment penalties, negative amortization
payments, or other abusive terms in the agreements, providing kickbacks to brokers, flipping loans,
using balloon payments to conceal the true burden of the financing, requiring unnecessary insurance
and other products, including mandatory arbitration clauses, steering borrowers to subprime loans
when they qualify for conventional loans, and using bait and switch tactics. All were rampant within
the industry without oversight or good judgment and found to be inconsistent with important
national objectives, including the goals of fair access to credit, community development, and stable
homeownership by the broadest spectrum of America. Rather than offering a loan product that was

viable and long-term for the borrower and lender, brokers and lenders greedin sold whatever they

 

 

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could get away with, arguably the primary catalyst for what is now this country’s worst economic
crisis since the Great Depression.

20. The loan product sold to the Plaintiff in this case was exactly the kind of loan that has
contributed to our national problem. The Defendants were aware of this trend, and possessed the
foresight to advise Plaintiff of this risk. They intentionally concealed the negative implications of
the loan they were offering, and as a result, Plaintiff faces the potential of losing her home to the
very entity and entities who placed her in this position.

21. Further liability exists on the part of Aloha Mortgage Solutions because under the
Federal Tluth In Lending Act § 1640, if any violation by Aloha Mortgage Solutions that occurred
(before its transfer of servicing rights to Countrywide Home Loans or any other alleged owner of the
Deed of Trust after the date of origination of the Aloha Mortgage Solutions), were apparent on the
face of the disclosures, then assignee liability exists. For example, in Cazares v Paciiic Shore
El_i_nd_ing, C.D. Cal. 1/ 3/2006, an assignee that actively participated in original lender’S act and
dictated loan terms may be liable under UDAP statutes. The purchase and/or receipt of the above
referenced “closed” loan from any subsequent purchaser, All lncluding at a non-judicial foreclosure
sale, do not absolve Countrywide Home Loans or Aloha Mortgage Solutions of liability for the
numerous State and Federal violations that have occurred, and have placed Plaintiff in a prejudicial
position in regard to his legal rights.

22. Each subsequent Defendant who has participated in, been assigned or been transferred
Rights, or holds a position or interest under loan agreement, including Countrywide Home Loans
and Aloha Mortgage Solutions, and MERS DEFENDANTS (hereinafter referred to collectively as
“Defendants”) failed to perform their due diligence in investigation the legal requirements that this
loan should have been processed within. As a result, Defendants now hold an interest in a loan that

was improperly handled from its inception

 

 

 

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23. The terms of the finance transaction with Aloha Mortgage Solutions are not clear or
conspicuous, nor consistent, and are illegal, and include, for example, extremely high ratios with
respect to Plaintiff’ s lncome and Liabilities. Plaintiff was given a loan that was an inappropriate
loan. The loan Was more expensive in terms of fees, charges and or interest rates than alternative
financing for which Plaintiff could have qualified The terms of the loan given to the Plaintiff are
such that she can never realistically repay the loan.

24. The fees for this loan were equally egregious This loan required the Plaintiff to pay
interest rates, fees and/or charges not justified by marketplace economics in place at the time the lien
was originated

25. This loan has a Prepayment Penalty attaché which assures that the borrower will not sale
the property of refinance the property before the lender has the opportunity to recoup the premium
fees paid to the broker.

26. The failure to adequately underwrite this loan could be actionable under: Rescission Law
for Fraud, l\/fistake, Undue lnfluence, Breach, Illegality Causes of Action could include: Lack of due
diligence by the lender in approving the loan, Lack of Good Faith and Fair Dealings by the Lender,
Fiduciary Duty by the Lender for doing a loan where it could lead to default and Unconscionability
by the Lender for doing the loan.

27. Under the EOCA, a borrower is entitled to the same terms of credit issuance that another
borrower of equal characteristics is entitled to. Here, placed the Plaintiff into a loan that had a
significantly higher interest rate than what was qualified for. This was a result of paying excessive
costs and fees to Aloha Mortgage Solutions.

28. These acts of deception violate several statutes and is in essence creates an illegal loan.
Further, this loan Was underwritten without proper due diligence by Aloha Mortgage Solutions as

evidenced by their failure to verify borrower’s income utilizing signed IRS lncome Tax Disclosure

 

 

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Form 4506T which would have provided past borrower tax returns nor verify income or
employment

29. ln addition, and unbeknownst to Plaintiff, Aloha Mortgage Solutions illegally,
deceptively and/or otherwise unjustly, qualified Plaintiff for a loan which Aloha Mortgage Solutions
knew or should have known that Plaintiff could not qualify for or afford by, for example, the
underwriter has approved this loan based upon credit scores and the borrower’s Stated lncome only.
Had Aloha Mortgage Solutions used a more accurate and appropriate factor, such as Tax Forms and
a more determinative level of scrutiny of determining the debt to income ratio, Plaintiff would not
have qualified for the loan in the first place. Consequently, Aloha Mortgage Solutions sold Plaintiff
a loan product that it knew or should have known would never be able to be fully paid back by
Plaintiff. Aloha Mortgage Solutions ignored long-standing economic principals of underwriting and
instead, knowingly, liberally, greedily and without any regard for Plaintiff s rights sold Plaintiff a
deceptive loan product.

30. There was no determination of the ability of the borrowers to repay the loan, with
complete disregard for the Guidance Letters issued by Federal Agencies and even Federal and State
Law.

31. Defendants, and each of them, neither explained the workings of the entire mortgage
loan transaction, how the rates, finance charges, costs and fees were computed, nor the inherent
volatility of the loan product(s) provided by Defendants.

32. This loan was a “stated income” loan wherein neither Aloha Mortgage Solutions nor
Countrywide Home Loans was able to accurately or reasonably determine if the Plaintiff could
qualify for the home loan. This lack of diligence is the primary reason Plaintiff find herself in the
position she does. The Defendants herein were aware of this probable outcome. The Plaintiff Was

not.

 

 

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33. The Defendant’s utilized excessive closing costs/fees that are actionable for treble
damages pursuant to 12 U.S.C. §2607. Those fees include, but are not limited to: Origination Fee,
Discount Fee, Lender Loan Fee, Processing Fee, and Underwriting Fee.

34. The purpose of entering into the above-described mortgage loan transactions was for the
Plaintiff to eventually own the Subj ect Property. 'l`hat purpose was knowingly and intentionally
thwarted and indeed made impossible by Defendants’ actions alleged herein.

35. An Expert, Certified, Forensic Audit of the Plaintiff’S loan documents revealed the
following legal violations which were incurred during the handling and processing of Plaintiff" s
loan:

36. Plaintiff is informed and believes and therefore alleges that the underwriter approved
this loan based only upon a stated income and a medium to high risk credit score and a belief that the
property would continue to increase in value and that the Plaintiff should have been declined for this
loan.

37. Plaintiff is informed and believes and therefore alleges that based on a Real lncome
Analysis, with the type of take home income Plaintiff possesses and that was clearly disclosed to
Defendants, that the borrower would not be able to support the home payment over an extended
period

38. Plaintiff is informed and believes and therefore alleges that Defendants failed to provide
Plaintiff with written notice of the furnishing of negative credit information to consumer reporting
agency after Defendants furnished such negative credit information about Plaintiff.

39. Plaintiff is informed and believes and therefore alleges that Defendants breached their
fiduciary duty to Plaintiff because they knew or should have known that the Plaintiff would or had a
strong likelihood of defaulting on this loan, they have a fiduciary duty to the Plaintiff to not place

them in that loan (in harm’s way).

 

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1 40. Plaintiff is informed and believes and therefore alleges that it was in the best interest of
Aloha Mortgage Solutions and Countrywide Home Loans to promote the particular program for
which they approved Plaintiff. lt led to a maximization of profits for the Defendants, with no
concern for the Plaintiff’ s financial position or livelihood

41. Plaintiff is informed and believes and therefore alleges that as a result of the Practices of
Defendants, and each of them throughout the handling of this loan, that such practices are consistent
g with the definition of predatory lending, and encompass numerous characteristics that indicate such.

9 42. Plaintiff is informed and believes and therefore alleges that Defendants provided

10 inadequate disclosure of the true costs, risks and, where necessary, appropriateness to the borrower

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of loan transactions in violation of the Federal Trade Commission Act,
12 '
43. Plaintiff is informed and believes and therefore alleges that Defendants engaged in
13

14 unlawful, unfair or fraudulent business act or practice and unfair, deceptive, untrue or misleading

15 advertising in violation, rising to unfair and deceptive business practices, in violation of the Unfair

16 and Deceptive Acts and Practices statutes.

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18 Declaratory Relief

19 (Against All Defendants)

:) 44. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though
22 fully Set forth herein.

23 45. An actual controversy has arisen and now exists between Plaintiff and Defendants

24 regarding their respective rights and duties, in that Plaintiff contends that Defendants did not have

25 the right to foreclose on the Subj ect Property because Defendants’ security interest in the Subj ect
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Property has been rendered void by operation of law, pursuant to 24 Code of F ederal Regulations
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3500.10, UDAP, TlLA and RESPA. Thus the purported power of sale by Defendants no longer
applies.

46. Plaintiff further contends that Defendants do not have the right to foreclose on the
Subj ect Property because Defendants did not properly comply With proper delivery procedures under
RESPA. Plaintiff further contends that the Defendants perpetrated a fraudulent loan transaction.

47. Plaintiff request that this Court find the purported power of sale contained in the Loan of
no force and effect at this time, because Defendants actions in the processing, handling and
attempted foreclosure of this loan has contained numerous violations of State and Federal laws
designed to protect borrowers, which has directly caused Plaintiff to be at an equitable disadvantage
to Defendants. Plaintiff further request that title to the Subj ect Property remain in Plaintiff’ s narne,
With said Deed of Trust remaining in beneficiaries’ name, during the pendency of this litigation.

48. As a result of the Defendants’ actions, Plaintiff has suffered damages according to proof,
and seeks declaratory relief that Defendants’ purported power of sale is void and has no force or
effect against the Subj ect Property.

49. Further, Defendants’ actions have been willful, knowing and malicious.

WHEREFGRE, Plaintiff pray for relief as set forth below.

COUNT II
Injunctive Relief
(Against All Defendants)
50. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though

fully set forth herein.

 

 

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1 51. Defendants have commenced a foreclosure action under the Note and have scheduled or
will schedule a non-judicial sale. Said sale will cause Plaintiff great and irreparable injury in that real
property is unique

52. The wrongful conduct of Defendants, unless restrained and enjoined by an order of the
court, will cause great and irreparable harm to Plaintiff. Plaintiff will not have the beneficial use and
enjoyment of the property and will lose her home.
8 53. Plaintiff has no other plain, speedy or adequate remedy and the injunctive relief prayed

9 for below is necessary and appropriate at this time to prevent irreparable loss to Plaintiff Plaintiff

10 has suffered and Will continue to suffer in the future unless Defendants’ wrongful conduct is

11 restrained and enjoined because real property is inherently unique and it is and will be impossible for
:: Plaintiff to determine the precise amount of damage Plaintiff will suffer.

14 WHEREFORE, Plaintiff pray for relief as set forth below.

15

16 COUNT III

17 Contractual Breach of Implied Covenant of Good Faith and Fair Dealing

111 (Against All Defendants)

19 54. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though
:1: fully set forth herein.

22 55. Every contract imposes upon each party a duty of good faith and fair dealing in its

23 performance and its enforcement This implied covenant of good faith and fair dealing requires that

24 no party will do anything that will have the effect of irnpairing, destroying, or injuring the rights of

25 the other party to receive the benefits of their agreement The covenant implies that in all contracts
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each party Will do all things reasonably contemplated by the terms of the contract to accomplish its
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purpose. This covenant protects the benefits of the contract that the parties reasonably contemplated
when they entered into the agreement

5 6. The terms of the Loan imposed upon Defendants a duty of good faith and fair dealing in
this matter.

57. Defendants enjoyed substantial discretionary power affecting the rights of Plaintiff
during the events alleged in this Complaint. Defendants were required to exercise such power in
good faith.

58. Defendants willfully breached their implied covenant of good faith and fair dealing with
Plaintiff when Defendants:

l. Willfully withheld numerous disclosures;

ll. Willfully Withheld notices in regard to excessive fees and closing costs; below
standard and non-diligent underwriting standards, Disclosures of additional
income due to interest rate increases, and failure to disclose when negative
credit scores were disseminated; and charged fees in excess of the reasonable
value of goods provided and/or services rendered;

lll. Willfully placed Plaintiff in a loan that she did not qualify for, could not
afford, and subjected them to further financial detriment, while providing
Defendants with financial benefits she would not have otherwise enjoyed

59. As a result of Defendants’ breach of this covenant, Plaintiff has suffered injury and has

caused Plaintiff the threat of loss of her home. Plaintiff has incurred and continues to incur legal

fees, including attorney fees and costs, as well as expenses to right this wrong.

 

Casez 1:11-cv-OOO23-LEK-KSC Document 1 Filed 01/13/11 Page 14 of 25 Page|D #: 14

1 60. Defendants’ actions in this matter have been willful, knowing, malicious, fraudulent and
oppressive, entitling Plaintiff to punitive damages in an amount appropriate to punish Defendants

and to deter others from engaging in the same behavior.

11 WHEREFORE, Plaintiff pray for relief as set forth below.

5

6 COUNT IV

7 violation of TILA, 15 U.s.C. § 1601, et.seq.

11 (Against All Defendants)
l: 61. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though
ll fully set forth herein. l
12 62. The Truth ln Lending Act (TILA) applies because the transaction involves the extension

13 of credit to a consumer for personal, family or household purposes that is subject to a finance charge

14 and/or payable by written agreement in more than four installments per 15 U.S.C. §§ 1601-1666j.

11 63. Aloha Mortgage Solutions and Countrywide Home Loans, failed to issue TILA initial

16 disclosures as mandated The failure to provide these disclosures would ensure that the Plaintiff had
:; no idea what the loan she was being offered, or the details of the loan. The Plaintiff would then be
19 place in a serious disadvantage as to getting a loan beneficial to their interest

20 64. Aloha Mortgage Solutions and Countrywide Home Loans, failed to provide Plaintiff

21 with a, a properly disclosed interest rate, a payment schedule or a disclosure relating to Property

22 hazard lnsurance and Prepayment Penalty, all required under the Code of F ederal Regulations.

111 65. Any and all statute[s] of limitations relating to disclosures and notices required pursuant
:: to 15 U.S.C. § 1601, et.seq. were tolled due to Defendants’ failure to effectively provide the required
26 disclosures and notices.

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66. An actual controversy now exists between Plaintiff, who contends she has the right to
rescind the loan on the Subject Property alleged in this Complaint, and based on information and
belief, Defendants deny that right

67. AS a direct and proximate result of Defendants’ violations Plaintiff has incurred and
continue to incur damages in an amount according to proof but not yet ascertained including without
limitation, statutory damages and all amounts paid or to be paid in connection with the transaction

68. Defendants were unjustly enriched at the expense of Plaintiff who is therefore entitled to
equitable restitution and disgorgement of profits obtained by Defendants.

69. Defendants’ actions in this matter have been willful, knowing, malicious, Haudulent and
oppressive, entitling Plaintiff to punitive damages in an amount appropriate to punish Defendants
and to deter others nom engaging in the same behavior.

WHEREFORE, Plaintiff pray for relief as set forth below.

COUNT V
Violation of Real Estate Settlement and Procedures Act (RESPA)
(Against All Defendants)

70. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though
fully set forth herein.

7l. RESPA applies because a lender that regularly extends federally related mortgage loans
aggregating more than $l million per year, and intended for the purchase of a one- to four-family
residential property are subject to RESPA per 12 U.S.C. §§ 2601-2617.

72. Housing and Urban Development’s (HUD’s) 1999 Statement of Policy established a
two-part test for determining the legality of lender payments to mortgage brokers for table funded

transactions and intermediary transactions under RESPA:

 

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1 (1) Whether goods or facilities were actually furnished or services were actually performed
for the compensation paid and;

(2) Whether the payments are reasonably related to the value of the goods or facilities that

4
were actually furnished or services that Were actually performed
5
73. ln applying this test, HUD believes that total compensation should be scrutinized to
6
7 assure that it is reasonably related to the goods, facilities, or services furnished or performed to

8 determine whether it is legal under RESPA.

9 74. The fees for this loan were equally egregious This loan required the Plaintiff to pay

10 interest rates, fees and/or charges not justified by marketplace economics in place at the time the lien

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was origmated.

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75. Defendants, and each of them, did not inform the borrower of intention to transfer the
13
14 servicing of the loan and/or failed to inform the borrower of the actual transfer within fifteen (15)

15 days before the effective date of the transfer per RESPA of 24 C.F.R. § 35 00.2] .
16 76. The Defendants, and each of them, did not provide HUD-l at closing (or 1 day before if

17 requested) and accurate per RESPA of 24 C.F.R. § 35 00.8(b).

111 77. Defendants, and each of them, did not provide Purchase Money or provide the Special
19 Information Booklet explaining the settlement costs within three (3) business days after consumer
:1 submitted a loan application This is a violation under RESPA of 24 C.F.R. § 35 00. 6.

22 78. This loan had fees charged in excess of the reasonable value of goods provided and/or

23 services rendered This is a violation under RESPA of 24 C.F.R. § 35 00.1 6.

24 79. As a proximate result of Defendants’ actions, Plaintiff has been damaged in an amount
25 not yet ascertained to be proven at trial.

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1:11-cv-OOO23-LEK-KSC Document 1 Filed 01/13/11 Page 17 of 25 Page|D #: 17

WHEREFORE, Plaintiff pray for relief as set forth below.
COUNT VI
Rescission
(Against All Defendants)

80. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though
fully set forth herein.

81. Plaintiff is entitled to rescind the loan for all of the foregoing reasons: 1) TILA
Violations; 2) RESPA; 3) Fraudulent Concealment; 4) Deceptive Acts and Practices (UDAP) and 5)
Public Policy Grounds, each of which provides independent grounds for relief.

82. The Truth ln Lending Act, 15 U.S.C §1601, et.seq. extends Plaintiff s right to rescind a
loan to three years from the date of closing if the borrower received false or incomplete disclosures
of either the loans terms or Plaintiff’ s right to rescind Here, Defendants have failed to properly
disclose the details of the loan. Specifically, the initial disclosures do not initial TlL disclosures, and
lack of diligence and collusion on the part of the broker, lender and underwriter to place Plaintiff in a
loan she could not afford and would ultimately benefit Defendants following the negative
amortization that accrued

83. The public interest would be prejudiced by permitting the alleged contract to stand;
Such action Would regard an unscrupulous lender.

84. As a proximate result of Defendants’ actions, Plaintiff has been damaged in an
amount not yet ascertained, to be proven at trial.

WHEREFORE, Plaintiff pray for rescission of the stated loan in its entirety.

COUNT VII
Unfair And Deceptive Business Act Practices (UDAP)

(Against All Defendants)

 

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1:11-cv-OOO23-LEK-KSC Document 1 Filed 01/13/11 Page 18 of 25 Page|D #: 18

85. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though
fully set forth herein.

86. Defendants failed to undergo a diligent underwriting process for this loan an alleged in
this complaint They also failed to properly adjust and disclose facts and circumstances relating to
Plaintiff s mortgage loan and placed Plaintiff in a loan, by way of stated income and misleading
facts, which she should never have been approved for because she could not afford it. Defendants
did have that knowledge of these facts, circumstances and risks but failed to disclose them.
Defendants also used various rates and charges to disguise the actual payment schedule and loaned
amount The Defendants enjoyed unjust enrichment and have profited and deceptively preyed upon
Plaintiff and her na`i've nature in the industry

87. By reason of Defendants fraudulent deceptive, unfair, and other wrongful conduct as
herein alleged, said Defendant has violated the Unfair and Deceptive Acts and Practices by
consummating an unlawful, unfair, and fraudulent business practice, designed to deprive Plaintiff of
her home, equity, as Well as her past and future investment

88. By reason of the foregoing, Plaintiff has suffered and continues to suffer damages in a
sum which is, as yet unascertained.

WHEREFORE, Plaintiff pray for relief as set forth below.

COUNT VIII
Breach of Fiduciary Duty
(Against Defendants)

89. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though
fully Set forth herein.

90. Defendants owed a fiduciary duty to Plaintiff and breached that duty by ailing to advise

or notify Plaintiff when Defendant’s broker knew or should have known that Plaintiff would or had a

 

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likelihood of defaulting on the loan, Defendants have a fiduciary duty to the borrower to not place
them in that loan (in harm’s way).

91. Defendants have a fiduciary duty to the Plaintiff, however here, they exercised a greater
level of loyalty to each other by providing each other with financial advantages under the loan
without disclosing their relation to one another to Plaintiff.

92. Defendant failed to provide material disclosures regarding the loan and its interest rate to
Plaintiff while in the capacity of Plaintiff s Lender.

93. Defendants failed to fully comply with TILA and RESPA regulations and laws
designated to protect Plaintiff The failure to do so placed Plaintiff in a serious disadvantage and
potential loss of her horne. Such actions are violations of a fiduciary responsibility owed to Plaintiff
by Defendants.

WHEREFORE, Plaintiff pray for relief as set forth below.

COUNT IX
Unconscionability - UCC-2-3202
(Against All Defendants)

94. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though
fully set forth herein.

95. lf the court as a matter of law finds the contract or any clause of the contract to have
been unconscionable at the time it was made the court may refuse to enforce the contract, or it may
enforce the remainder of the contract Without the unconscionable clause, or it may so limit the
application of any unconscionable clause as to avoid any unconscionable result

96. When it is claimed or appears to the court that the contract or any clause thereof may
be unconscionable the parties shall be afforded a reasonable opportunity to present evidence as to its

commercial setting, purpose and effect to aid the court in making the determination

 

 

 

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1 1:11-cv-00023-LEK-KSC Document 1 Filed 01/13/11 Page 20 of 25 Page|D #: 20

97. Here, based on the deception, unfair bargaining position, lack of adherence to the
regulations, civil codes and federal standards that the Defendants were require to follow; coupled
with the windfall that the Defendants reaped financially from their predatory practices upon
Plaintiff’ s, the court may find that the loan agreement and trust deed are unconscionable and of no
force or effect

WHEREFORE, Plaintiff pray for restitution and relief as set forth below.
COUNT X
Predatory Lending
(Against All Defendants)

98. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though
fully set forth herein.

99. The Office of Comptroller of the Currency defines Predatory Lending as any lien
secured by real estate which shares well known common characteristics that result in Unfair and
Deceptive Business Practices.

100. Acts undertaken by the Defendants here that are consistent with the Office of the
Comptroller’s definition include the fact that this loan was marketed in a way Which fails to fully
disclose all material terms and includes terms and provisions Which are unfair, fraudulent or
unconscionable;

101. This loan is a high cost loan that violates the Homeownership and Equity Protection
Act,

102. This loan is a practice of offering a loan at one rate and then changing the loan program

at the last moment lt can also apply to the negative amortization loan.

 

 

 

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1:11-cv-00023-LEK-KSC Document 1 Filed 01/13/11 Page 21 of 25 Page|D #: 21

103. This loan is a practice of targeting the elderly with loans that they cannot afford or
negative amortization loans with low minimum payments, but high actual interest rates, simply for
getting the commissions on the loan.

104. This loan targets inappropriate or excessively expensive credit products to older
borrowers, to persons Who are not financially sophisticated or who may be otherwise vulnerable to
abusive practices, and to persons who could qualify for mainstream credit products and terms.

105. This loan is a practice of targeting persons who don’t speak or read English Well and all
the conversations are held in either English or their native language Borrowers cannot understand
the loan documents and have no idea what they are signing.

106. This loan requires borrowers to pay interest rates, fees and/or charges not justified by
marketplace economics in place at the time the lien was originated

107. This loan is the practice of approving loans with high debt ratios, usually 50% or more,
without determining the true ability of the borrower to repay the loan. Can often be seen with Prime
borrowers approved through the Automated UnderwriOting Systems.

108. The loan offered to the borrower has little or no equity in the home Usually adjustable
rate mortgages that the borrower will not be able to refinance out of when the rate adjusts dues to
lack of equity.

109. This loan is marketed in a way that fails to fully disclose all material terms. lncludes
any terms or provisions which are unfair, fraudulent or unconscionable ls marketed in whole or in
part on the basis of fraud, exaggeration, misrepresentation or the concealment of a material fact
lncludes interest only loans, adjustable rate loans, negative amortization and HOEPA loans.

110. This loan is based on a loan application that is inappropriate for the borrower. For
instance, the use of a stated-income loan application from an employed individual who has or can

obtain pay stubs, W-2 forms and tax returns.

 

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Cas_ 1:11-cv-00023-LEK-KSC Document 1 Filed 01/13/11 Page 22 of 25 Page|D #: 22

1 111. This loan is underwritten without due diligence by the party originating the loan No
realistic means test for determining the ability to repay the loan. Lack of documentation of income or

assets, job verification Usually with Stated lncome or No documentation loans, but can apply to full

4
documentation loans.
5
112. This loan is materially more expensive in terms of fees, charges and/or interest rates
6
7 than alternative financing for Which the borrower qualifies Can include prime borrowers who are

g placed into subprime loans, negative or interest only loans. Loan terms whereby the borrower can

9 never realistically repay the loan

10 113. This adjustable rate mortgage loan was an inter-temporal transaction on Which Plaintiff
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had only qualified at the initial teaser fixed rate, and could not qualify for the loan once the interest
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rate terms changed in two years.
13
14 WHEREFORE, Plaintiff pray for relief as set forth below.
15

COUNT X[

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17 Quiet Titie
18
19 (All Defendants Claiming Any Interest In the Subject Property)
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21 114. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though

22 fully set forth herein
23 115. Plaintiff is at all times herein mentioned the owner and/or entitled to possession of the

24 Property, until the date of sale that transferred physical possession of the deed of trust to the non-

25 bonafide subsequent purchaser.
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116. Plaintiff is informed and therefore believes and thereupon alleges that Defendants,
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and each of them, claim an interest in the Subject Property adverse to Plaintiff. However, as a result
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a 1:11-cv-00023-LEK-KSC Document 1 Filed 01/13/11 Page 23 of 25 Page|D #: 23

of the conduct more fully described in the preceding allegations, the claim of Defendants is without
any right whatsoever, and said Defendants have no legal or equitable right, claim, or interest in the
Property.

117. Plaintiff therefore seek a declaration that the title to the Subj ect Property is vested in
Plaintiff s alone and that the Defendants herein, and each of them, be declared to have no estate,
right, title or interest in the Subj ect Property and that said Defendants, and each of them, be forever

enjoined from asserting any estate, right, title or interest in the Subj ect Property adverse to Plaintiff
WHEREFORE, Plaintiff pray for relief as set forth below.

COUNT XII
Lack of Standing; Improper Fictitious Entity
(Against Defendant MERS)

118. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though
fully set forth herein

119. Where a power to sell real property is given to a mortgagee, or other entity whom has
placed an encumbrance on title, in an instrument intended to secure the payment of money, the
power is part of the security and vests in any person who by assignment becomes entitled to payment
of the money secured by the instrument The power of sale may be exercised by the assignee if the
assignment is duly acknowledged and recorded

120. Mortgage Electronic Registration System (MERS) has been named the beneficiary for
this loan MERS was created to eliminate the need for the executing and recording of assignment of
mortgages, with the idea that l\/fERS would be the mortgagee of record This would allow MERS to
foreclose on the property, and at the same time, assist Aloha Mortgage Solutions in avoiding the

recording of the Assignments of Beneficiary on loans sold. This saved Aloha Mortgage Solutions

 

 

 

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1:11-cv-00023-LEK-KSC Document 1 Filed 01/13/11 Page 24 of 25 Page|D #: 24

money in manpower and the costs of recording these notes. lt was also designed to “shield” investors
from liability as a result of lender misconduct regarding the process of mortgage lending.

121. l\/fERS is simply an “artificia ” entity designed to circumvent certain laws and other
legal requirements dealing with mortgage loans. By designating certain member employees to be
MERS corporate officers, MERS has created a situation whereby the foreclosing agency and MERS
“designated officer” has a conflict of interest

122. Since neither MERS nor the servicer have a beneficial interest in the note, nor do they
receive the income from the payments, and since it is actually an employee of the servicer signing
the Assignrnent in the name of l\/lERS, the Assignment executed by the MERS employee is illegal.
The actual owner of the note has not executed the Assignrnent to the new party. An assignment of a
mortgage in the absences of the assignment and physical delivery of the note will result in a nullity.

123. lt must also be noted that the lender or other holder of the note registers the loan on
MERS. Thereafter, all sales or assignments of the mortgage loan are accomplished electronically
under the MERS system. MERS never acquires actual physical possession of the mortgage note, nor
do they acquire any beneficial interest in the Note.

124. The existence of MERS indicated numerous violations of the Unfair and Deceptive
Acts and Practices due to the conflicting nature and identity of the servicer and the beneficiary
Each of these practices was intentionally designed to mislead the borrower and benefit the lenders.

125. One can only conclude after a reading of this section, that MERS has no legal standing

to foreclose

 

Cas€= 1:11-cv-00023-LEK-KSC Document 1 Filed 01/13/11 Page 25 of 25 Page|D #: 25

 

 

l WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them, as set
2 forth herein
1 PRAYER FoR RELIEF
11 WHEREFORE Plaintiff Will ask for the following for each Cause of Action sustained:
1 1. For Compensatory Damages in an amount to be determined by proof at trial.
6 2. For Special Damages in an amount to be determined by proof at trial.
7 3. For General Damages in an amount to be determined by proof at trial.
11 4. For Treble Damages in an amount to be determined by proof at trial.
9 5. For Punitive Damages as against the individual Defendants.
10 6. For Attorney’s Fees and Costs of this action
ll 7. For Declaratory Relief, including a declaration that Plaintiffs is the prevailing party.
12 8. For an lnjunction, enjoining any foreclosure proceeding on the Subject Property.
13 9. For a judgment rescinding the Loan and Security Agreement and setting forth terms
14 of restitution
15 10. For a judgment ordering that the Defendants provide proof of authority to foreclose
16 by producing the promissory note
ll. Quiet Title.
11 12. For any prejudgment or other interest according to law.
111 13. Any other and further relief that the Court considers just and proper.
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